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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  –Southern Division–


 CONSTANCE COLLINS, et al.,
                                                           Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK                    OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


                ORDER GRANTING PLAINTIFFS’ MOTION TO STRIKE

        UPON CONSIDERATION OF Plaintiffs’ Motion to Strike, any response thereto, and the

record in this case, the United States District Court for the District of Maryland:

        (1)    GRANTS Plaintiffs’ Motion to Strike, ECF No. 82.

        (2)    The February 4, 2020 email from the U.S. Department of Agriculture, ECF No. 75-

4, is hereby excluded under Rule 37(c).

        (3)    The May 4, 2018 letter from former Allegany County Animal Control Officer, John

Carden, ECF No. 75-10, is hereby excluded under Rule 37(c) and under Federal Rule of Evidence

802.

        (4)    The allegations in paragraphs 5, 8, 9, 11–20, 22, 23, and 25 of Defendant Robert

Candy’s Affidavit, ECF No. 75-3, cited in Plaintiffs’ memorandum in support of their Motion to

Strike, are hereby stricken.

        Defendants may not use any of the aforementioned evidence to oppose Plaintiffs’ Motion

for Summary Judgment, ECF No. 71, or to support Defendants’ Motion for Summary Judgment,

ECF No. 74.

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SO ORDERED, on _________________________.




                                                __________________________

                                                    Honorable Paula Xinis

                                                  United States District Judge



     cc: ALL COUNSEL OF RECORD




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